Case 1:03-md-01570-GBD-SN Document 4686-2 Filed 07/17/19 Page1of3

EXHIBIT B
Case 1:03-md-01570-GBD-SN Document 4686-2 Filed 07/17/19 Page 2 of3

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Aamoth, et al.
CERTIFICATE OF MAILING

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The Islamic Republic of Iran Case No.: _1:18-¢v-12276 (GBD)(SN)

I hereby certify under the penalties of perjury that on the _27_ day of March , 2019, ] served:__

Minister of Foreign Affairs, Ministry of Foreign Affairs of the Islamic Republic of Iran, Iman

Khomeini Avenue, Tehran, Iran, Attn: H.E. Mohammad Javad Zarif

CJ the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)Cii).

O the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

xX the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a)(4).

L] the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

_2 copy(ies) of the Summons, Complaint, Civil Cover Sheet, Notice of suit prepared

in accordance with 22 CF §93.2 with a copy of 28 U.S.C. 1330, affidavit of translator (along with

translations of the above documents)

by Federal Express 8606 6542 7454.

Dated: New York, New York hg wth
03/27/2019 Ge ea

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Case 1:03-md-01570-GBD-SN Document 4686-2 Filed 07/17/19 Page 3of3
-Case 1:18-cv-12276-GBD-SN Document 12 Filed 03/27/19 Page 2 of 2
